Form summons (6/2013)
                                               UNITED STATES BANKRUPTCY COURT
                                                    Western District of Washington

                                                                       Case Number: 14−10421−MLB
In Re:
                                                                       Adversary Case Number: 14−01387−MLB
Casey R. Ingels,
                                                   (ALL DOCUMENTS REGARDING THIS
...............................Debtor(s).          MATTER MUST BE IDENTIFIED BY BOTH
__________________________________________________ ADVERSARY AND BANKRUPTCY CASE
                                                   NUMBERS)
John S. Peterson, as Bankruptcy Trustee,

.............................Plaintiff(s),
v.

Casey R. Ingels,

.............................Defendant(s).



                                             SUMMONS IN AN ADVERSARY PROCEEDING

YOU ARE SUMMONED and required to file a motion or answer to the complaint with the Clerk of the Bankruptcy
Court within 30 days after the date of issuance of this summons, except that the United States and its offices and
agencies shall submit a motion or answer to the complaint within 35 days. A copy of the complaint is attached to this
summons.

Address of Clerk:

                                                U.S. Bankruptcy Court
                                                700 Stewart St, Room 6301
                                                Seattle, WA 98101

At the same time, you must also serve a copy of the motion or answer upon the Plaintiff's attorney (or Plaintiff if not
represented by counsel).

Name and Address of Plaintiff's Attorney (or Plaintiff not represented by counsel):

                    John S Peterson
                    PO Box 829
                    Kingston, WA 98346

If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.




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YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will be
held on the following date and time:

Date and Time: November 19, 2014 at 01:00 PM

Kitsap County Courthouse, 614 Division St. Courtroom 104,Port Orchard, WA 98366

For pretrial conferences held in Port Orchard, parties must appear in person.
For pretrial conferences held in Seattle, parties have the option of appearing in person at the Seattle Courthouse or
may participate by telephone. Advance approval for a telephonic appearance is not required. Instructions and
guidelines are as follows:

Instructions:
  Dial: 1.888.363.4749
  Enter Access Code: 9365479#
  Press the # sign
  Enter Security Code when prompted: 8574#
  Speak your name when prompted

Please follow these guidelines when participating on a teleconference:

   − Use a land line phone and not a cell phone, if possible.
   − Make the call from a quiet area where background noise is minimal.
   − Wait until the judge calls your case before speaking.
   − Do not put the phone on hold at any time after the call is connected.
   − In the event you are unable to connect to the conference call after following the above procedures,
     please contact chambers at (206) 370−5310.


IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT
MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.

Scope of Pretrial Conference: At the pretrial conference the parties should be prepared to discuss: (1) timing of trial,
(2) discovery deadlines, and (3) the authority of the bankruptcy court to enter a final adjudication on all matters
encompassed in the lawsuit.

Mediation: Local Bankruptcy Rule 9040−3 requires parties in all adversary proceedings to file a Mediation
Certification certifying that they have considered mediation to resolve their dispute. The form of Mediation
Certification accompanies this summons and is to be served by the plaintiff on all defendants. See the court's website,
www.wawb.uscourts.gov, Thomas T. Glover Mediation Program, for additional forms and information on the court's
mediation program.

                                                         Mark L. Hatcher
                                                         Clerk, U.S. Bankruptcy Court




Date of Issuance: October 3, 2014

Summons must be served within 14 days of date of issuance, Fed. R. Bankr. P. 7004(e). Plaintiff shall file a certificate
of service within 14 days after service has been effected. W.D.Wash.Local Bankr. Rule 7004−1.




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ADR Form 1 (12/2011)
                                             UNITED STATES BANKRUPTCY COURT
                                                  Western District of Washington

In Re:

Casey R. Ingels,

...............................Debtor(s).
__________________________________________
                                                          Case Number: 14−10421−MLB

                                                          Adversary Case Number: 14−01387−MLB


John S. Peterson, as Bankruptcy Trustee,

.............................Plaintiff(s),

v.

Casey R. Ingels,

.............................Defendant(s).


                                                 MEDIATION CERTIFICATION


Pursuant to Local Bankruptcy Rule 9040−3, each of the undersigned certifies that he or she has read the Honorable
Thomas T. Glover Mediation Program Instructions for Parties, discussed the available dispute resolution options provided
by the Court, reviewed dispute resolution options offered by private entities, and considered whether this matter might
benefit any of them.

Dated: ____________________                               _______________________________________________________
                                                          Signature of Plaintiff/Cross Plaintiff
                                                          Printed Name: __________________________________________

Dated: ____________________                               _______________________________________________________
                                                          Signature of Counsel for Plaintiff/Cross Plaintiff
                                                          Printed Name: __________________________________________

Dated: ____________________                               _______________________________________________________
                                                          Signature of Defendant/Cross Defendant
                                                          Printed Name: _________________________________________

Dated: ____________________                               _______________________________________________________
                                                          Signature of Counsel for Defendant/Cross Defendant
                                                          Printed Name: _________________________________________


NOTE: This Certification shall be served by the plaintiff on all defendants and must be signed by each party and its
counsel. If there is more than one plaintiff, the plaintiff listed first in the caption of the adversary proceeding shall also
serve this Certification on all other plaintiffs. If there are additional parties (e.g., additional plaintiffs, defendants, cross
plaintiffs, or cross defendants), additional sheets should be filed.

The completed Certification must be filed with the court electronically or by mailing a paper copy to the Clerk of the
Bankruptcy Court, 700 Stewart St., Room 6301, Seattle, WA 98101.


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